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            IN THE UNITED STATES DISTRICT COURT
          FOR THE MIDDLE DISTRICT OF PENNSYLVANIA

DAYTON COTE,                                       No. 4:18-CV-01440

          Plaintiff,                               (Judge Brann)
     v.

U.S. SILICA COMPANY,
NORFOLK SOUTHERN
CORPORATION,
SCHNELL INDUSTRIES, and
FB INDUSTRIES,

          Defendants.

                                   ORDER

     AND NOW, this 1st of November 2018, in accordance with the

accompanying Memorandum Opinion, IT IS HEREBY ORDERED that:

     1.   Defendant U.S. Silica Company’s Motion for a More Definite

          Statement, July 23, 2018, ECF No. 28 is GRANTED. Plaintiff’s

          amended complaint will be due in accordance with the deadlines set

          forth in paragraph 2(a) of this Order.

     2.   Defendant Schnell Industries’ Motion to Dismiss, July 23, 2018, ECF

          No. 29 is GRANTED in part and DENIED in part.

          a.     Insofar as the motion is made pursuant to Federal Rule of Civil

                 Procedure 12(b)(2) it is GRANTED. Leave is provided for

                 Plaintiff Dayton Cote to engage in jurisdictional discovery with
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           Defendant Schnell Industries. This jurisdictional discovery

           shall be completed within sixty (60) days. At the conclusion of

           the jurisdictional discovery, Plaintiff Cote will be provided an

           additional two weeks thereafter within which to file an

           amended complaint stating the basis for personal jurisdiction

           over Defendant Schnell Industries.

     b.    Insofar as Schnell Industries’ motion is made as a motion to

           dismiss pursuant to Federal Rule of Civil Procedure 12(b)(6) it

           is DENIED without prejudice with leave to re-raise if personal

           jurisdiction is established.

3.   Plaintiff’s two discovery dispute letters, ECF Nos. 36 and 37, October

     5, 2018, are premature. They will be held for disposition until the

     time of the initial case management conference between the Court and

     counsel pursuant to Federal Rule of Civil Procedure 16. That said, I

     encourage the parties to voluntarily engage in discovery pending said

     conference to speed the resolution of this matter, to the extent that

     they are able to do so.

                                       BY THE COURT:


                                       s/ Matthew W. Brann
                                       Matthew W. Brann
                                       United States District Judge

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